    Case: 1:21-cv-04367 Document #: 65 Filed: 05/27/22 Page 1 of 3 PageID #:565




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MAURICE FRANKLIN,                              )
                                                )
                Plaintiff,                      )     Case No. 1:21-cv-04367
                                                )
        v.                                      )     Hon. Steven C. Seeger
                                                )
 MAXIMUS, INC., MAXIMUS HUMAN                   )     Magistrate Judge Jeffrey T. Gilbert
 SERVICES, INC., and MAXIMUS                    )
 SERVICES LLC.,                                 )
                                                )
                Defendants.

                  JOINT STATUS REPORT REGARDING DISCOVERY

       In accordance with the Court’s May 19, 2022 Order (ECF No. 62), Plaintiff Maurice

Franklin and Defendants Maximus, Inc., Maximus Human Services, Inc., and Maximus Services

LLC (collectively, the “Parties”) jointly submit the following status report regarding discovery.

       As discussed during the May 16, 2022 status hearing, the Parties have exchanged

disclosures under Rule 26(a) but have not yet issued written discovery; this case was previously

stayed pending the Court’s ruling on Maximus, Inc.’s motion to dismiss. The Parties subsequently

sought to resolve issues relating to the pleadings before commencing discovery.

       On May 24, 2022, after obtaining leave from the Court, Plaintiff filed a second amended

complaint. Defendants are currently preparing their answer. After Defendants file their answer, the

Parties will then proceed with written and oral discovery.

       The Parties jointly request an extension to several deadlines set by the Court relating to

fact discovery, experts, and dispositive motions, commensurate with the time that has elapsed since

the Court entered its scheduling order on December 17, 2021 (ECF No. 28)—approximately two

weeks after Plaintiff filed his first amended complaint. Specifically, the Parties propose the

following deadline extensions:


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    Case: 1:21-cv-04367 Document #: 65 Filed: 05/27/22 Page 2 of 3 PageID #:566




                     Event                         Current Deadline      Proposed Deadline
  Completion of Fact Discovery                      August 31, 2022      December 16, 2022

  Disclosure of Plaintiff’s Expert Report(s)       September 30, 2022     January 20, 2023

  Deposition of Plaintiff’s Expert                  October 31, 2022      February 17, 2023

  Disclosure of Defendant’s Expert Report(s)        October 31, 2022      February 17, 2023

  Deposition of Defendant’s Expert                 November 30, 2022       March 10, 2023

  Dispositive Motions                               January 6, 2023        March 16, 2023

       WHEREFORE, for these reasons, the Parties jointly request that the Court enter a

scheduling order extending the fact discovery, experts, and dispositive motions deadlines as set

forth above.

Dated: May 27, 2022                                    Respectfully Submitted,

MAURICE FRANKLIN                                       MAXIMUS, INC., MAXIMUS
                                                       HUMAN SERVICES, INC., AND
By: /s/ Anthony Dawkins                                MAXIMUS SERVICES LLC
    One of His Attorneys
                                                       By: /s/ Kathryn J. Barry
F. Anthony Dawkins                                         One of Their Attorneys
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                                               2
     Case: 1:21-cv-04367 Document #: 65 Filed: 05/27/22 Page 3 of 3 PageID #:567




                                 CERTIFICATE OF SERVICE

         The undersigned, an attorney, certifies that on May 27, 2022, she caused a true and correct

copy of the foregoing JOINT STATUS REPORT REGARDING DISCOVERY to be filed with

the Court by electronic filing protocols, and that the same will therefore be electronically served

upon all attorneys of record registered with the Court’s CM/ECF system.

                                                              /s Kathryn J. Barry


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